     Case 2:17-cv-05777-MLCF-KWR Document 13 Filed 02/15/18 Page 1 of 1




                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


ANNETTE M. WEBB                                                        *       CIVIL ACTION

VERSUS                                                                 *       NO. 17-5777

AETNA LIFE INSURANCE COMPANY                                           *       SECTION “F”


                                     ORDER OF DISMISSAL


        The Court having been advised by counsel for the parties that all of the parties to this action

have firmly agreed upon a compromise,

        IT IS ORDERED that the action be and it is hereby dismissed without costs and without

prejudice to the right, upon good cause shown, to reopen the action or to seek summary judgment

enforcing the compromise if settlement is not consummated within a reasonable time. The Court

retains jurisdiction for all purposes, including enforcing the settlement agreement entered into by

the parties.

        COUNSEL ARE REMINDED that, if witnesses have been subpoenaed, EVERY WITNESS

MUST be notified by counsel not to appear.

        New Orleans, Louisiana, February 15, 2018.



                                               ________________________________
                                                    MARTIN L.C. FELDMAN
                                                UNITED STATES DISTRICT JUDGE


Reagan L. Toledano, Esquire
